                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND


 SHEIRA BROWN,

                       Plaintiff,
                                                        Case No. 1:21-cv-00096-JRR
          v.

 HARFORD BANK,

                       Defendant.


                            HARFORD BANK’S ANSWERS TO PLAINTIFF’S
                                FIRST SET OF INTERROGATORIES

         Defendant Harford Bank (“Defendant” or “Harford”), by and through undersigned counsel,

and pursuant to Rule 34 of the Federal Rules of Civil Procedure and Local Rule 104, hereby

responds to the First Set of Interrogatories propounded by Plaintiff Sheira Brown (“Plaintiff”).

                                        GENERAL OBJECTIONS

         1.       Each and every request is responded to subject to the General Objections set forth

below. These objections and limitations form a part of the response to each and every request and are

set forth here to avoid the duplication and repetition of restating them for each response. These

general objections may be specifically referred to in response to certain requests for the purpose of

clarity. The failure to specifically incorporate an objection, however, should not be construed as a

waiver of the General Objections.

         2.       Defendant objects to the production of any documents protected by the attorney-client

privilege, attorney work-product doctrine, or any other legally applicable privilege.

         3.       Defendant objects to each request to the extent it purports to exceed the discovery

permitted by the Federal Rules.



                                                    1
4891-1399-9932, v. 3
         4.       Defendant objects to each request to the extent it seeks disclosure of information

not reasonably calculated to lead to the discovery of admissible evidence.

         5.       Defendant objects to each request to the extent that it seeks documents that are not

within their collective, or individual, possession, custody or control.

         6.       Defendant objects to each request to the extent that it seeks discovery that is

unreasonably cumulative or duplicative, is obtainable from some other source that is more convenient,

less burdensome or less expensive.

         7.       Defendant objects to each request to the extent that it is vague, ambiguous, overbroad,

unduly burdensome or oppressive.

         8.       Defendant has not yet completed discovery of the facts in this lawsuit nor fully

prepared for trial and, therefore, reserves the right to supplement any of the foregoing Responses

in a manner consistent with the Federal Rules of Civil Procedure and any Scheduling Order then

in force.

         9.       Defendant further reserves the right to supplement the foregoing Answers, and

accompanying document production, upon agreement between counsel on protocol for the

production of electronically stored information (“ESI”) and, if necessary, a duly-executed

Protective Order.

                               ANSWERS TO INTERROGATORIES

        INTERROGATORY NO. 1:                Identify all persons who participated in answering
these interrogatories, or who supplied information upon which you relied in answering these
interrogatories.

         ANSWER: Defendant objects to this interrogatory because it seeks the phone number

and email address for employees of Defendant. This information is irrelevant because as




                                                    2
4891-1399-9932, v. 3
employees of Defendant, Plaintiff cannot directly contact any of these employees. Subject to, and

without waiving this objection, the following persons assisted in answering these interrogatories:

         Michael F. Allen, President, Harford Bank, 8 W. Bel Air Avenue, Aberdeen, MD 21001

         Mitchell Linzey, Security and Facilities Supervisor, Harford Bank, 8 W. Bel Air Avenue,

Aberdeen, MD 21001

       INTERROGATORY NO. 2:                   Identify all persons or entities that have possession,
custody, or control of documents relevant to this lawsuit and the documents over which they have
possession, custody, or control.

         ANSWER: Harford Bank and Sheira Brown.

      INTERROGATORY NO. 3:                    Describe your version as to how the Occurrence
happened.

         ANSWER:       Plaintiff came to a Harford Bank branch drive-through to cash a check.

Harford Bank representatives saw indications that the check may not be valid and called the issuer

of the check. The issuer did not recognize the payee on the check and instructed Harford Bank not

to cash the check. Harford Bank followed these instructions.

       INTERROGATORY NO. 4:                   What actions are required of one of your employees
when receiving a check for deposit?

         ANSWER: Harford Bank Objects to this interrogatory as it calls for information that is

irrelevant. Plaintiff sought to cash a check, not deposit one; therefore the bank’s deposit policy is

irrelevant.

       INTERROGATORY NO. 5:                   Please outline the general security process for
accepting a check.

         ANSWER: Harford Bank objects to this interrogatory as the phrase “general security

policy for accepting a check” is vague. Harford Bank does not have such a policy. Subject to and

without waiving this objection, when cashing a check, Defendant generally will only cash checks


                                                  3
4891-1399-9932, v. 3
made payable to its depository account holders. Tellers must look at the customer’s relationship

before cashing any check. All Harford Bank locations may cash a check drawn on a Harford

Bank account for non-account holders provided that a primary form of identification is presented

by the payee, the maker’s signature can be verified, and all other check-cashing policies are

adhered to. Tellers must call the maker of the check if the check is made out for more than $500.

For payroll checks, tellers must refer to the portal or branch list before cashing. Tellers should

not cash checks that show any signs of erasures or alterations; checks made payable to a

corporation, rep. payee, Title 13, or Estate; checks, debit memos or withdrawals for the teller

cashing the check or the teller’s family members or those residing in the same household; or

checks with qualified endorsements. Tellers must also inspect the check to ensure it has each

element of negotiability.


        INTERROGATORY NO. 6:                     Please provide an overview of your institutional
policies relating to matters of race, racial discrimination, as well as treatment of customers on the
basis of race, skin color, or ethnicity.

         ANSWER: Harford Bank objects to this Interrogatory on the ground that it is overbroad

because it does not define a time period. Subject to and without waiving this objection, and

interpreting the interrogatory to mean on the actual date of the incident that is the subject of this

case, Harford Bank has a policy not to discriminate against anyone on the basis of race, skin color

or ethnicity.

       INTERROGATORY NO. 7:                Please outline your relationship with the FDIC
(Federal Deposit Insurance Corporation) and list all agreements you have entered into with the
FDIC.

         ANSWER: Harford Bank objects to this Interrogatory on the ground that it is overbroad,

unduly burdensome, and seeks information that is irrelevant and not proportional to the needs of




                                                  4
4891-1399-9932, v. 3
the case. Subject to and without waiving this objection, Defendant has been a member of the FDIC

since 1963.

        INTERROGATORY NO. 8:                   Please outline how Defendant “takes affirmative
steps to ensure robust investment in, and fair treatment of, communities which have traditionally
been poorly served by the banking industry.”

         ANSWER: Defendant objects to this interrogatory as it is vague. Plaintiff has provided

no information as to where this quote was taken from, and Defendant does not know its source.

Additionally, Defendant objects to this request as it seeks information that is irrelevant.

       INTERROGATORY NO. 9:                Please describe what was meant/intended to be
communicated when your employee made the following statements: “the color of the check was
wrong,” “this is not you, you are committing fraud, and you are going to jail,” and “they are
always lying.”

         ANSWER: Defendant objects to this request as it is vague. The request does not indicate

who made these statements or when they were made. Defendant also does not concede that these

statements were made. Subject to and without waiving these objections, the color of the check

presented by Plaintiff appeared inconsistent with the color of checks from this account holder.

       INTERROGATORY NO. 10:              Please describe and list all potential defenses that
you may lodge in support of the notion that your institution was not engaging in racially
discriminatory conduct on March 20, 2020.

         ANSWER: Defendant objects to this request as it calls for the production of work product.

Moreover, Defendant objects to this request as it seeks “all potential defenses that you may lodge.”

Seeking “all” defenses is improper and objectionable. This request could include strategies for

defending the case at trial, jury selection, cross-examination, choice and order of presentation of

witnesses and exhibits and other matters which constitute work product. Defendant further objects

that the incident did not occur on March 20, 2020. Subject to, and without waiving these objections,




                                                  5
4891-1399-9932, v. 3
Defendant generally denies that any of its actions were motivated by racial animus or taken

because Plaintiff is African American.

       INTERROGATORY NO. 11:                Please provide previous claims and/or charges,
including informal complaints, for race discrimination filed by current or former customers of
your bank.

         ANSWER:        Defendant objects to this interrogatory because it is overbroad and seeks

information that is irrelevant because it does not contain a time limitation. Harford Bank has

existed for decades and may not know about events that took place decades ago. Moreover, such

old claims would be irrelevant. Subject to, and without waiving these objections, Defendant is not

aware of any such complaints.

       INTERROGATORY NO. 12:               State the name, address, and business telephone
number of each person with personal knowledge regarding the facts and circumstances
surrounding the happenings of the occurrences referred to in the complaint.

         ANSWER:

         Gail O’Keefe, last known address is 1803 Madarin Court, Edgewood, MD 21040

         Jasmine Nixon, last known address is 404 Haslett Road, Joppa, MD 21085.

         Brian Claffee, Manager of Retail Banking Services, 8 W. Bel Air Avenue, Aberdeen, MD

21001

         Sheira Brown

      INTERROGATORY NO. 13:                 Please outline the employment history of the
employee who refused to accept Plaintiff’s check.

         ANSWER: Jasmine Brown was hired as a teller on October 7, 2019 and her employment

ended on August 8, 2020. Gail O’Keefe was hired on April 26, 1976 and her employment ended

on March 31, 2020. While with Harford Bank, Ms. O’Keefe held the following positions: Teller,


                                                 6
4891-1399-9932, v. 3
Joppatowne; Teller, Aberdeen; Loan Department; Assistant Manager, Joppatowne; Manager,

Joppatowne; AVP - Branch Manager, Joppatowne.

        INTERROGATORY NO. 14:                 Has any employee or applicant for employment
ever filed an internal complaint with the Defendant alleging that the Defendant had discriminated
against them?

         ANSWER: Defendant does not recall, and is not aware of, any such complaints.

        INTERROGATORY NO. 15:                    Please put forth a general summary of your bank’s
history as it relates to issues of racial discrimination.

         ANSWER:       Defendant objects to this request as it is vague. Subject to, and without

waiving this objection, Defendant does not, and has never, discriminated based on race. Defendant

has always opposed racial discrimination.

         INTERROGATORY NO. 16:               Please describe your bank’s general compliance or
failure to comply with either 42 U.S.C. § 1981 and/or 15 U.S.C. § 1691.

         ANSWER:       Defendant objects to this request to the extent that it seeks information

relating to 15 U.S.C. § 1691, as this information is irrelevant because the court has dismissed this

count. Subject to, and without waiving this objection, Defendant has always complied with 42

U.S.C. § 1981.

       INTERROGATORY NO. 17:                Please state and describe all policies of your bank
aimed at complying with the equal protection clause of the United States Constitution.

         ANSWER: Defendant objects to this request as it seeks information that is irrelevant.

The Equal Protection Clause of the United States Constitution applies to government, not private

entities. Subject to, and without waiving this objection, because the Equal Protection Clause does

not apply to private entities, Defendant has no such policies.

         INTERROGATORY NO. 18:                Please describe your social media policy in general.




                                                 7
4891-1399-9932, v. 3
         ANSWER: Defendant objects to this request as it seeks information that is irrelevant.

Defendant’s social media policy has nothing to do with the issues in this case. Defendant also

objects to this request as it does not specify a timeframe. Subject to, and without waiving this

objection, Defendant’s social media policy in effect at the time of the incident requires all

employees to adhere to Defendant’s policies regarding ethics, confidentiality, discrimination and

harassment when posting to social media. Inappropriate postings including discriminatory

remarks, harassment, and threats of violence or similar inappropriate or unlawful conduct will not

be tolerated and may result in disciplinary action up to and including termination. Employees must

be respectful and avoid using statements, photographs, video or audio that could reasonably be

viewed as malicious, obscene, threatening or intimidating, that disparage customers, co-workers

of suppliers, or that might constitute harassment or bullying. Employees must make sure they are

always honest and accurate when posting information or news and correct mistakes quickly.

Employees may not post any information or rumors they know to be false about Harford Bank, co-

workers, customers, suppliers, people working on behalf of Harford Bank or competitors.

Employees may not post reports, policies, procedures or other internal business-related

confidential information. Employees must make it clear they are not speaking on behalf of Harford

Bank if they post online related to subjects associated with Harford Bank. Employees must refrain

from using social media while on work time or on equipment provided by Harford Bank, and must

not use Harford Bank email addresses to register for social media accounts. Any employee who

retaliates against another employee for possible violations of the social media policy or for

cooperating in an investigation will be subject to disciplinary action up to and including

termination.

        INTERROGATORY NO. 19:                  Please describe your suspicious item policy as well
as training items relating to suspicious items.

                                                 8
4891-1399-9932, v. 3
         ANSWER: Defendant objects to this request as vague in that Defendant does not know

what a “suspicious item policy” is and has no such policy.

      INTERROGATORY NO. 20:               Please describe the disciplinary history of all
employees who were working on the date of the incident.

         ANSWER: Defendant objects to this interrogatory as it is overbroad, seeks information

that is irrelevant to the issues in this case, and is not proportional. This interrogatory asks about

every employee who is working on the date of the incident, rather than just those employees who

are involved in the incident. Even if it were just restricted to the employees involved in the incident,

their disciplinary history with Defendant is irrelevant. Moreover, this interrogatory is not restricted

to the branch where the incident took place. Rather, it includes all employees in the entire

organization.




                                   *       *       *       *       *       *




                                                   9
4891-1399-9932, v. 3
Dated: October 31, 2022                              Respectfully submitted,


                                                     /s/ Scott H. Marder
                                                     Scott H. Marder (Bar No. 28789)
                                                     shmarder@tandllaw.com
                                                     Jennifer E. Cirarrocchi (Bar No. 20101)
                                                     jciarrocchi@tandllaw.com
                                                     THOMAS & LIBOWITZ, P.A.
                                                     25 S. Charles Street, Suite 2015
                                                     Baltimore, Maryland 21202-1053
                                                     Telephone: (410) 752-2468
                                                     Facsimile: (410) 752-0979

                                                     Attorneys for Defendant

                               CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on this 31st day of October, 2022, a copy of the foregoing

document was served via electronic mail upon:

         Robert C. Hilliard
         robert.hilliard@hmglawfirm.com

         Rudy F. Gonzales, Jr.
         rudyg@hmglawfirm.com

         Lindsey J. Corbin
         lcorbin@hmglawfirm.com

         Jessica J. Pritchett
         jpritchett@hmglawfirm.com

         Matthew L. McMullen
         mmcmullen@hmglawfirm.com



                                                     /s/ Scott H. Marder
                                                     Scott H. Marder




                                                11
4891-1399-9932, v. 3
